Case 4:18-cr-00012-MFU-RSB Document 528 Filed 01/17/20 Page 1 of 2 Pageid#: 2965




                                                        FILED: January 17, 2020


                    UNITED STATES COURT OF APPEALS
                        FOR THE FOURTH CIRCUIT


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                                   No. 19-4645 (L)
                            (4:18-cr-00012-MFU-RSB-4)
                               ___________________

  UNITED STATES OF AMERICA

              Plaintiff - Appellee

  v.

  MONTEZ LAMAR ALLEN, a/k/a Doc Milla

              Defendant - Appellant

                               ___________________

                                     No. 19-4646
                            (4:18-cr-00012-MFU-RSB-5)
                               ___________________

  UNITED STATES OF AMERICA

              Plaintiff - Appellee

  v.

  JAVONTAY JACQUIS HOLLAND, a/k/a Tay, a/k/a Reckless

              Defendant - Appellant
Case 4:18-cr-00012-MFU-RSB Document 528 Filed 01/17/20 Page 2 of 2 Pageid#: 2966


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                                  MANDATE
                               ___________________

        The judgment of this court, entered December 26, 2019, takes effect today.

        This constitutes the formal mandate of this court issued pursuant to Rule

  41(a) of the Federal Rules of Appellate Procedure.


                                                          /s/Patricia S. Connor, Clerk
